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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
THE JUDGE ROTENBERG                  )
EDUCATIONAL CENTER, INC., et al., )
                                     )
       Plaintiffs,                   )
                                     )
               v.                    ) Civil Action No. 1:17-cv-02092-BAH
                                     )
U.S. FOOD AND DRUG                  )
ADMINISTRATION, et al.,              )
                                     )
       Defendants.                   )
____________________________________)

                                  JOINT STATUS REPORT

       Pursuant to the Court’s March 8, 2022 Order in this matter, the parties, through their

undersigned counsel, respectfully submit this Joint Status Report.

       In late 2020, Plaintiffs, The Judge Rotenberg Educational Center, Inc., The J.R.C. Parents

and Friends Association, Inc., and Paul E. Peterson, Ph.D. (collectively, “Plaintiffs”), with the

consent of Defendants, the U.S. Food and Drug Administration (“FDA”) and the U.S. Department

of Health and Human Services (collectively, “Defendants”), moved to stay this action pending the

resolution of the consolidated appeals known as The Judge Rotenberg Educational Center, Inc. v.

United States Food and Drug Administration, et al., No. 20-1087 (D.C. Cir.), and Aponte, et al. v.

United States Food and Drug Administration, et al., No. 20-1088 (D.C. Cir.) (collectively, the

“Appeals”) [ECF No. 52]. Plaintiffs explained that, in the Appeals, they and others had moved for

discovery of certain records, including, but not limited to, unredacted copies of certain of the

records at issue in this action (the “Discovery Motions”), and that the resolution of the Discovery

Motions in the Appeals might obviate the need for or reduce the scope of further action by this

Court under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552. The Court then stayed

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proceedings in this action [Aug. 24, 2020 Minute Order], until fourteen (14) days after the D.C.

Circuit’s judgment in the Appeals became final [Sept. 22, 2021 Minute Order].

       In the most recent Joint Status Report [ECF No. 58], the parties reported that the D.C.

Circuit’s judgment vacating FDA’s final rule had become final. Plaintiffs also explained their view

that the final resolution of the appeals did not necessarily obviate the need for all further action by

this Court. The parties jointly requested that this matter remain stayed for sixty (60) days so that

the parties could meet and confer regarding the impact of the D.C. Circuit’s ruling. This Court then

extended the stay in this action though May 9, 2022, and directed the parties to file, by the same

date, this Joint Status Report [March 8, 2022 Minute Order].

       Since the Court entered its March 8, 2022 Order, the parties have consulted about an

efficient path forward in this action. As a result, Plaintiffs agreed to review, during the next forty-

five (45) days, Defendants’ pending summary judgment papers for potential ways to narrow the

remaining issues. Defendants, in turn, agreed to consider the appropriateness of further disclosures

in response to any particular issues raised and/or records identified by Plaintiffs. This process will

permit the parties to determine what, if any, Court proceedings remain necessary and assist in

narrowing the scope of any future Court review.

       Plaintiffs note that, in the most recent Joint Status Report, they also requested an extension

of the stay because, after the D.C. Circuit’s judgment in the Appeals became final, they and others

sent FDA a letter proposing a resolution to the various remaining issues between the parties in the

hope that if the parties were able to reach an agreed-upon global resolution, there would be no

need for further litigation in this action. Plaintiffs further note that, since the Court entered its

March 8, 2022 Order, FDA has now responded to their letter, and Plaintiffs are in the process of

reviewing FDA’s letter and the potential implications that communication may have on Plaintiffs’


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view of the need to continue pursuing, in this action, the responsive records that Defendants

continue withholding.

       Therefore, the parties jointly request that this matter remain stayed for forty-five (45) days

so that the parties may work together to narrow the remaining issues, in the event further

proceedings remain necessary. The parties further suggest that, within forty-five (45) days, or by

June 23, 2002, the parties submit a further joint status report with a proposed briefing schedule

and a description of the scope of further proceedings, if necessary, or advising the Court that the

case may be dismissed.




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Dated: May 9, 2022                                 Respectfully submitted,

The Judge Rotenberg Educational Center, Inc.       MATTHEW M. GRAVES
and Paul E. Peterson, Ph.D.,                       D.C. Bar #481052
                                                   United States Attorney
/s/ Edward J. Longosz, II
Edward J. Longosz, II (D.C. Bar No. 368932)
ECKERT SEAMANS CHERIN & MELLOTT, LLC               BRIAN P. HUDAK
1717 Pennsylvania Avenue, Northwest,               Chief, Civil Division
12th Floor
Washington, D.C. 20006                         By: /s/ Sean M. Tepe
T: (202) 659-6619                                 SEAN M. TEPE, DC Bar #1001323
F: (202) 659-6699                                 Assistant United States Attorney
elongosz@eckertseamans.com                        601 D Street, N.W.
                                                  Washington, DC 20530
Michael P. Flammia (Pro Hac Vice)                 (202) 252-2536
ECKERT SEAMANS CHERIN & MELLOTT, LLC              sean.tepe@usdoj.gov
2 International Place, 16th Floor
Boston, MA 02110                                   Attorneys for Defendants
T: (617) 342-6854
F: (617) 342-6899
mflammia@eckertseamans.com

The J.R.C. Parents and Friends Association,
Inc. and Paul E. Peterson, Ph.D.,

/s/ Max D. Stern_____________________
Max D. Stern (Pro Hac Vice)
TODD & WELD, LLP
1 Federal Street
Boston, MA 02110
T: (617) 624-4712
F: (617) 227-5777
mdstern@toddweld.com

Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE


       I hereby certify that service of the foregoing Joint Status Report has been made through

the Court’s electronic transmission facilities on this 9th day of May 2022.



                                             /s/ Edward J. Longosz, II
                                             Edward J. Longosz, II




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